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UNITED STATES DISTRICT COURT
                                                                      DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                      DATE FILED: 10/16/2020
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  CHARLES R. ACKLIN, et al.,                                      :
                                                                  :
                                                  Plaintiffs, :
                              -against-                           :     1:20-cv-07042-GHW
                                                                  :
  IAN BRUCE EICHNER, LESLIE H. EICHNER, :                                    ORDER
  STUART P. EICHNER, SCOTT L. LAGER, T. :
  PARK CENTRAL LLC, O. PARK CENTRAL :
  LLC, PARK CENTRAL MANAGEMENT, LLC, :
  MANHATTAN CLUB MARKETING GROUP, :
  LLC, NEW YORK URBAN OWNERSHIP                                   :
  MANAGEMENT, LLC and BLUEGREEN                                   :
  VACATIONS UNLIMITED, INC.,                                      :
                                                                  :
                                             Defendants.          :
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GREGORY H. WOODS, United States District Judge:
         On October 15, 2020, the Court held a conference regarding Defendants’ requests for leave

to file motions to dismiss. Dkt. Nos. 59 and 62. The deadline for Defendant Bluegreen Vacations

Unlimited Inc. (“Bluegreen Vacations”) to file and serve its motion to dismiss is October 22, 2020.

Plaintiffs’ opposition is due within twenty-one days after service of Bluegreen Vacations’ motion;

Bluegreen Vacations’ reply, if any, is due within seven days after service of Plaintiffs’ opposition.

         The deadline for the Manhattan Club Defendants to file and serve their motion to dismiss is

December 17, 2020. Plaintiffs’ opposition is due within twenty-eight days after service of the

Manhattan Club Defendants’ motion; the Manhattan Club Defendants’ reply, if any, is due within

fourteen days after service of Plaintiffs’ opposition.
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       For the reasons stated on the record, discovery is stayed pending the motions to dismiss.

The initial pretrial conference scheduled for December 30, 2020 is adjourned sine die.


       SO ORDERED.

 Dated: October 15, 2020                            _____________________________________
 New York, New York                                          GREGORY H. WOODS
                                                            United States District Judge




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